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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA, et al.,

                               Plaintiffs,           Case No. 1:20-cv-03010-APM

 v.                                                  HON. AMIT P. MEHTA
 GOOGLE LLC,

                               Defendant.




                         NOTICE OF WITHDRAWAL OF COUNSEL

       Pursuant to Local Rule 83.6 (b), Ryan M. Sandrock gives notice of his withdrawal as

counsel of record for Plaintiff United States of America.



 Dated: December 17, 2021                      Respectfully submitted,

                                               By:     /s/ Ryan M. Sandrock
                                               Ryan M. Sandrock
                                               U.S. Department of Justice, Antitrust Division
                                               450 Golden Gate Avenue
                                               San Francisco, CA 94102
                                               ryan.sandrock@usdoj.gov

                                                Counsel for Plaintiff United States of America
